    2:14-mn-02502-RMG            Date Filed 01/27/17     Entry Number 1830      Page 1 of 1




                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF SOUTH CAROLINA
                                 CHARLESTON DIVISION


In Re Lipitor (Atorvastatin Calcium) Marketing          MDL No. 2502
Sales Practices and Products Liability Litigation       2:14-mn-02502-RMG
(No II)




THIS DOCUMENT RELATES TO:

ALL CASES LISTED IN EXHIBIT A                           NOTICE OF APPEAL




        PLEASE TAKE NOTICE that plaintiffs in the cases listed in Exhibit A, all of which

are part of the above-captioned multi-district litigation, In Re Lipitor (Atorvastatin Calcium)

Marketing Sales Practices and Products Liability Litigation (No II), appeal to the United States

Court of Appeals for the Fourth Circuit from each and every part of of the final judgment entered

on January 4, 2017 [MDL Dkt. No. 1804], Case Management Order No. 99, entered on January

3, 2017 [MDL Dkt. No. 1796], and from all prior and subsequent opinions, orders, and rulings

adverse to plaintiffs.

Dated: January 27, 2017                             Respectfully submitted,

                                                       /s/ H. Blair Hahn
                                                       H. Blair Hahn (Fed. I.D. # 5717)
                                                       Richardson Patrick
                                                       1037 Chuck Dawley Blvd., Bldg. A Mount
                                                       Pleasant, SC 29464
                                                       Telephone: (843) 727-6500
                                                       Facsimile: (843) 727-6642
                                                       bhahn@rpwb.com
                                                       Plaintiffs’ Lead Counsel
